          Case 2:18-cr-00231-DAK Document 1 Filed 04/25/18 Page 1 of 9



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JOHN W. HUBER, United States Attorney (#7226)                U.3., ::· , -~_·:·,'-- 1 ",·
                                                                       - ' •'I> ' ' I /f /t' •·
VERNON STEJSKAL, Assistant United States Attorney (#8434)                           . "''~ \J;\ I
MICHAEL GADD, Special Assistant United States Attorney (#137©41 AP!? -/. ._,r:; ,..-...) /• f)O
Attorneys for the United States of America                                                + l ·1
Office of the United States Attorney                           O!s ;;,;,: i :.·;:LI/if!
111 South Main Street, Suite 1800                           D)'·
Salt Lake City, Utah 84111-2176                                  · .:n i' :).T_i~R--·-- ...
Telephone: (801) 524-5682
Email: Michael.Gadd@usdoj.gov


                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,                         Case No.

         Plaintiff,                                 FELONY INFORMATION

         vs.                                        VIOLATIONS:
                                                    21 U.S.C. §846, CONSPIRACY TO
  JONATHAN LUKE PAZ,                                MANUFACTURE A CONTROLLED
                                                    SUBSTANCE;
         Defendant.
                                                    21 u.s.c. §§ 33l(k) & 333(b)(7),
                                                    KNOWING AND INTENTIONAL
                                                    ADULTERATION OF DRUGS WHILE
                                                    HELD FOR SALE

                                                    18 U.S.C. § 1956(h), CONSPIRACY TO
                                                    COMMIT MONEY LAUNDERING
                                                    Judge Dale A. Kimball

       The United States Attorney charges:

                                          COUNT1
  (21 U.S.C. §§ 846 & 841(a)(l), CONSPIRACY TO MANUFACTURE FENTANYL)

       Beginning on a date unknown to the Grand Jury, but at least by February 3, 2016,

and continuing to at least November 22, 2016, in the Central Division of the District of

Utah and elsewhere,
                                                           Case: 2:18-cr-00231
                                                           Assigned To: Shelby, Robert J.
                                                           Assign. Date : 4/25/2018
                                                1          Description: USA v. Paz
         Case 2:18-cr-00231-DAK Document 1 Filed 04/25/18 Page 2 of 9




                                JONATHAN LUKE PAZ,

defendant herein, did combine, conspire, confederate and agree with AARON MICHAEL

SHAMO and with other persons, both known and unknown, to knowingly and

intentionally manufacture four hundred grams or more of a mixture or substance

containing a detectable amount of Fentanyl (N-phenyl-N- [ 1- ( 2-phenylethyl )-4-

piperidinyl] propanamide), a Schedule II controlled substance within the meaning of 21

U.S.C. § 812, all in violation of 21 U.S.C.§§ 846 and 841(a)(l) and punishable under 21

U.S.C.§ 84l(b)(l)(A).


                                         COUNT2
           (21 U.S.C. §§ 33l(k) & 333(b)(7), KNOWING AND INTENTIONAL
                ADULTERATION OF DRUGS WHILE HELD FOR SALE

Beginning on a date unknown, but at least by February 3, 2016, and continuing to at least

November 22, 2016, in the Central Division of the District of Utah,

                                JONATHAN LUKE PAZ,

defendant herein, knowingly and intentionally manufactured a drug and caused the

manufacture of a drug-specifically, round blue tablets debossed with "A 215" on the

bisected side-and offered those tablets for sale on the internet as "Oxycodone 30 mg."

Despite these representations, the defendant did not use Oxycodone at all in the

manufacturing process, but instead, substituted Fentanyl, a much more potent synthetic

opioid. These acts caused the drug to be adulterated as defined at 21 U.S.C. §§ 35l(b)

and 35l(d), and the adulteration had a reasonable probability of causing serious adverse

health consequences or death to humans. The manufacturing of these drugs was


                                            2
         Case 2:18-cr-00231-DAK Document 1 Filed 04/25/18 Page 3 of 9




performed after the component ingredients of the tablets had been shipped in interstate

commerce, from outside of Utah to Utah, and while the drugs were held for sale. All this

was in violation of 21 U.S.C. §§ 33 l(k) and 333(b )(7) and is punishable pursuant to 21

u.s.c. § 333(b)(7).
                                       COUNT3
           (21 U.S.C. §§ 33l(k) & 333(b)(7), KNOWING AND INTENTIONAL
               ADULTERATION OF DRUGS WHILE HELD FOR SALE)

Beginning on a date unknown, but at least by June 18, 2016, and continuing to at least

November 22, 2016, in the Central Division of the District of Utah,

                                 JONATHAN LUKE PAZ,

defendant herein, knowingly and intentionally manufactured a drug and caused the

manufa~ture of a drug-specifically, round blue tablets with "!Ml" on one side and a "30"
above a bisect on the other-and offered those tablets for sale on the internet as

"Oxycodone 30 mg." Despite these representations, the defendant did not use

Oxycodone at all in the manufacturing process, but instead, substituted Fentanyl, a much

more potent synthetic opioid. These acts caused the drug to be adulterated as defined at

21 U.S.C. §§ 35l(b) and 35l(d), and the adulteration had a reasonable probability of

causing serious adverse health consequences or death to humans. The manufacturing of

these drugs was performed after the component ingredients of the tablets had been

shipped in interstate commerce, from outside of Utah to Utah; and while the drugs were

held for sale. All this was in violation of 21 U.S.C. §§ 33l(k) and 333(b)(7) and is

punishable pursuant to 21 U.S.C. § 333(b)(7).



                                             3
         Case 2:18-cr-00231-DAK Document 1 Filed 04/25/18 Page 4 of 9




                                         COUNT4
     (18 U.S.C. § 1956(h), CONSPIRACY TO COMMIT MONEY LAUNDERING)

       Beginning on a date unknown to the Grand Jury; but at least by February 10, 2015,

and continuing to at least November 22, 2016, in the Central Division of the District of

Utah and elsewhere,

                              JONATHAN LUKE PAZ,

defendant herein, did knowingly combine, conspire, confederate and agree with other

persons, both known and unlmown to the Grand Jury, to lmowingly conduct and attempt

to conduct a financial transaction affecting interstate commerce, to wit, bank deposits,

which involved the proceeds of a specified unlawful activity, that is, the manufacture and

distribution of a controlled substance in violation of 21 U.S.C. § 84l(a)(l), with the intent

to promote, conceal, and disguise the carrying on of specified unlawful activity, that is,

manufacture and distribution of a controlled substance, and that while conducting and

attempting to conduct such financial transactions lmew that the property involved in the

financial transactions represented the proceeds of some form of unlawful activity in

violation of 18 U.S.C. § 1956(a)(l)(A)(i) and (a)(l)(B)(i); all in violation of 18 U.S.C.

§1956(h).

         NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

      Pursuant to 21 U.S.C. § 853, upon conviction of any offense in violation of 21

U.S.C. §§ 841 and 846, as set forth in this Felony Information, the defendant shall forfeit

to the United States of America any property constituting, or derived from, any proceeds

obtained, directly or indirectly, as the result of such offenses and any property used, or


                                              4
          Case 2:18-cr-00231-DAK Document 1 Filed 04/25/18 Page 5 of 9




intended to be used, in any manner or part, to commit, or to facilitate the commission of,

the offenses. The property to be forfeited includes, but is not limited to, the following:

CURRENCY

   •   $1,227,773.00 in United States Currency

   •   $19,520.00 in United States Currency

   •   $429,600.00 in United States Currency

   •   $5,357,950.38 in United States Currency, the proceeds of the sale of 513.15 Bitcoin



AUTOMOBILES.

   •   A 2011 Ford F-350 pickup, VIN#1FT8W3BT7BEC88017

   •   A 2008 BMW 135i, VIN#WBAUC73508VF25535

MISCELLANEOUS

   •   The pill press seized from the garage at Aaron SHAMO's residence on Titian Way.

       Here is a photo:




                                               5
      Case 2:18-cr-00231-DAK Document 1 Filed 04/25/18 Page 6 of 9




•   The following dies/punches:

     Item         Punch Embossing      Comparison            Comparison
                                    Tablet(s) Available    Tablet(s) Items
    Item 20        GG 2 4 9 (w/ %          YES            14, 15, 16, 17, 18,
       A1               cores)                                    19
    Item 20        GG 2 4 9 (w/ %          YES            14, 15, 16, 17, 18,
       A2               cores)                                    19
    Item 20         (Slug - not a          NO             NOT APPLICABLE
       A3           tablet punch)

    Item 20        2 (w/ % cores)          NO             NOT AVAILABLE
       B1
    Item 20        2 (w/ % cores)          NO             NOT AVAILABLE
       B2
    Item 20        2 (w/ % cores)          NO             NOT AVAILABLE
       B3
    Item 20        2 (w/ % cores)          NO             NOT AVAILABLE
       B4
    Item 20       XA N AX (w/%              NO            NOT AVAILABLE
       B5             cores)
    Item 20       XA N AX (w/%              NO            NOT AVAILABLE
       B6             cores)
    Item 20       XA N AX (w/%              NO            NOT AVAILABLE
       B7             cores)
    Item 20       XA N AX (w/%              NO            NOT AVAILABLE
       B8             cores)
    Item 20           10/325                NO            NOT AVAILABLE
       B9
    Item 20       XANAX (w/%                NO            NOT AVAILABLE
       B10            cores)
    Item 20        2 (w/ % cores)           NO             NOT AVAILABLE
       B11
    Item 20              M523               NO             NOT AVAILABLE
       B12
    Item 20              M523               NO             NOT AVAILABLE
       B13
    Item 20              M523               NO             NOT AVAILABLE
       B14
    Item 20              M523               NO             NOT AVAILABLE
       B15


                                    6
  Case 2:18-cr-00231-DAK Document 1 Filed 04/25/18 Page 7 of 9




Item 20           M523                  NO          NOT AVAILABLE
   B16
Item 20           10/325                NO          NOT AVAILABLE
   817
Item 20           10/325                 NO         NOT AVAILABLE
   B18
Item 20           10/325                 NO         NOT AVAILABLE
   B19
Item 20           10/325                 NO         NOT AVAILABLE
   B20
Item 20       R039 (w/%                  NO         NOT AVAILABLE
   B21          cores)

Item 20      10 metal die with       No Analyses      No Analyses
               oval shaped            Performed        Performed
              through holes

Item 21      M (enclosed in a           YES         6, 8, 9, 10, 12, 13
   A1            square)
Item 21      M (enclosed in a           YES         6,H,9, 10, 12, 13
   A2            square)
Item 21      M (enclosed in a           YES         6,8,9, 10, 12, 13·
   A3            square)
Item 21      M (enclosed in a           YES         6,8,9, 10, 12, 13
   A4            square)
Item 21      M (enclosed in a           YES         6, 8, 9, 10, 12, 13
   A5            square)
Item 21      M (enclosed in a           YES         6,8,9, 10, 12, 13
   A6            square)
Item 21      M (enclosed in a           YES         6, 8, 9, 10, 12, 13
   A7            square)
Item 21      M (enclosed in a           YES         6,8,9, 10, 12, 13
   A8            square)
Item 21      M (enclosed in a           YES         6,8,9, 10, 12, 13
   A9            square)

Item 22      GG249 (w/%                 YES         14, 15, 16, 17, 18,
   A1          cores)                                       19
Item 22      GG249 (w/%                 YES         14; 15, 16, 17, 18,
   A2          cores)                                       19
Item 22      GG249 (w/%                 YES         14, 15, 16, 17, 18,
   A3          cores)                                       19

                                 7
          Case 2:18-cr-00231-DAK Document 1 Filed 04/25/18 Page 8 of 9




     Item 22             GG249 (w/%                     YES              14, 15, 16,   17, 18,
        A4                   cores)                                              19
     Item 22             GG249 (w/%                     YES              14, 15, 16,   17, 18,
        A5                   cores)                                              19
     Item 22             GG249 (w/%                     YES              14, 15, 16,   17, 18,
        A6                   cores)                                              19
     Item 22             GG 2 4 9 (w/ %                 YES              14, 15, 16,   17, 18,
        A7                   cores)                                              19
     Item 22             GG249 (w/%                     YES              14, 15, 16,   17, 18,
        A8                   cores)                                              19



MONEY JUDGMENT

      •   A MONEY IDDGMENT in the amount of $981,000 (the value of 200 Bitcoins

          on 9/13/2017), which sum represents the minimum value of any proceeds

             obtained, directly or indirectly, as the result of such offenses and the value of

             any property used, or intended to be used, in any manner or part, to commit, or

          to facilitate the commission of, the offenses.

SUBSTITUTE ASSETS

      If any of the property described above, as a result of any act or omission of the

defendant:

      a. cannot be located upon the exercise of due diligence;

      b. has been transferred or sold to, or deposited with, a third party;

      c. has been placed beyond the jurisdiction of the court;

      d. has been substantially diminished in value; or




                                                 8
          Case 2:18-cr-00231-DAK Document 1 Filed 04/25/18 Page 9 of 9




       has been commingled with other property which cannot be divided without

difficulty, the United States of America shall be entitled to forfeiture of substitute

property pursuant to 21 U.S.C. § 853(p ).




                                            M!CHAEL GADD
                                            Special Assistant United States Attorney




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